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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

WILLIAM WEBB,

              Plaintiff,                                 Case No. 8:14-cv-00212 EAK TBM
vs.

VANTIUM CAPITAL, INC. d/b/a STRATEGIC
RECOVERY GROUP,

              Defendant
                                                    /

                               NOTICE OF SETTLEMENT

       Plaintiff, WILLIAM WEBB and Defendant, VANTIUM CAPITAL, INC. d/b/a

STRATEGIC RECOVERY GROUP, hereby give notice that the parties have reached a

settlement with regard to this case and are presently drafting, finalizing, and executing the

settlement and dismissal documents. Upon execution of the same, the parties will file the

appropriate dismissal documents with the Court.

                                                  s/ Barbara Fernandez
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                                                  CAPITAL, INC. d/b/a STRATEGIC
                                                  RECOVERY GROUP




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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 19, 2015, I electronically filed the foregoing with the Clerk

of the Court by using the CM/ECF system which will send a notice of electronic filing to the

following:

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